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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE: DAVOL, IINC./C.R.BARD                               Case No. 2:18-md-2846
INC., POLYPROPYLENE HERNIA
MESH PRODUCTS LIABILITY
LITIGATION                                                 JUDGE EDMUND A. SARGUS, JR.
                                                           Magistrate Judge Kimberly A. Jolson
This document relates to:
ALL ACTIONS.

                            CASE MANAGEMENT ORDER NO. 34
                             (Order Appointing Settlement Master)

       Upon the parties’ joint agreement, the Court hereby appoints John Jackson as settlement

master. The settlement master will facilitate discussions among and between the parties as he

deems necessary, appropriate and as directed by the Court, and will provide status reports to the

Court on a frequent and timely basis. The settlement master shall have the power and authority to

engage in ex parte communications with all parties, counsel, and the Court.



8/17/2022                                   s/Edmund A. Sargus, Jr.
DATE                                        EDMUND A. SARGUS, JR
                                            UNITED STATES DISTRICT JUDGE
